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                                  February 04, 2025

· · ·UNITED STATES DISTRICT COURT
· · ·NORTHERN DISTRICT OF FLORIDA
· · · · · · · · · · CIVIL ACTION

· · ·NICHOLAS FORD and ALONZO HAWKINS,

· · · · · · Plaintiff,

· · · · · · · · · · · · · · CASE NO.
· · · · · · · · · · · · · · 3:24-cv-00404-MCR-ZCB
· · ·-versus-

· · ·SOUTHERN ROAD & BRIDGE, LLC

· · · · · ·Defendant.

· · ·----------------------------------/

·

· · ·DEPOSITION OF:· NICHOLAS FORD

· · ·DATE:· · · · · ·February 4, 2025

· · ·TIME:· · · · · ·10:00 a.m.

· · ·LOCATION:· · ·Deposition held remotely via Zoom

· · ·TAKEN BY:· · ·ARTHUR JONES

· · ·REPORTED BY:

· · ·Addie Rubio

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·1· · · · · · · · · A P P E A R A N C E S

·2· ·For the Plaintiffs:

·3· · · · · ·DEREK SMITH LAW GROUP, PLLC

·4· ·BY:· · ·DANIEL BARROUKH, Esq.

·5· · · · · ·520 Brickell Key Group, PLLC

·6· · · · · ·Miami, Florida 33131

·7· · · · · ·Appeared Remotely via Zoom

·8

·9

10

11· ·For the Defendant:

12· · · · · · COLE, SCOTT & KISSANE, P.A.

13· ·BY:· · · ARTHUR JONES, Esq.

14· · · · · · 500 North Westshore Boulevard

15· · · · · · Suite 700

16· · · · · · Tampa, Florida 33609

17· · · · · · Appeared Remotely via Zoom

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·4· ·Nicholas Ford· · · Arthur Jones· · · · · · ·5

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15· ·(Attorney retained exhibits.)

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·1· ·(REPORTED REMOTELY FROM LEE COUNTY, FLORIDA)

·2· · · · · · ·COURT REPORTER:· May I see the

·3· · · · Deponent's identification.

·4· · · · · · ·(Deponent displays Texas I.D. in

·5· · · · front of camera.)

·6· · · · · · ·COURT REPORTER:· Deponent produced a

·7· · · · valid Texas license as proof identity.

·8· · · · · · ·Counselors, since we are holding this

·9· · · · deposition remotely, do I have your

10· · · · permission to now swear in the witness and

11· · · · to take down the testimony virtually via

12· · · · Zoom?

13· · · · · · ·MR. JONES: Yes.

14· · · · · · ·MR. BARROUKH:· Yes.

15· · · · · · ·THE REPORTER:· The parties

16· · · · participating in this deposition

17· · · · acknowledge that I will be reporting this

18· · · · proceeding and administering oath to

19· · · · witness remotely via Zoom.

20· · · · · · ·Mr. Ford, Please raise your right

21· ·hand.

22· ·THEREUPON,

23· ·N I C H O L A S· F O R D,

24· ·a witness, having been first duly sworn,

25· ·upon his oath testified as follows:


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·1· · · · · · · · ·EXAMINATION BY

·2· ·MR. JONES:

·3· · · · Q.· ·Hello my name is Arthur Jones.            I

·4· ·represent Southern Road & Bridge in a lawsuit

·5· ·you brought here.· I am going to take your

·6· ·deposition today.· Could you please state your

·7· ·full name for the record?

·8· · · · A.· ·Nicholas Ford.

·9· · · · Q.· ·Mr. Ford, have you ever taken your

10· ·deposition before?

11· · · · A.· ·I need to talk to my attorney about

12· ·that and ask him a question about that because

13· ·I have no idea what you are talking about.

14· · · · Q.· ·The process that we are here now,

15· ·taking your deposition, have you undergone that

16· ·process before, where you had your deposition

17· ·taken?

18· · · · A.· ·No, sir.

19· · · · Q.· ·Okay.· I just want to go over a

20· ·couple of ground rules, just to make everything

21· ·go smoothly.· First, we have a court reporter

22· ·here to take down everything we say, so a

23· ·couple of rules to make sure her job is easier.

24· · · · · · ·Now, I just ask when I ask you a

25· ·question, if you don't understand it, just ask


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·1· ·me to repeat the question and I will repeat it.

·2· ·Is that okay?

·3· · · · A.· ·Yes.

·4· · · · Q.· ·If you answered a question, I will

·5· ·assume that you have heard the question and

·6· ·understood it and that you have given your best

·7· ·answer.· Is that okay?

·8· · · · A.· ·Yes.

·9· · · · Q.· ·I also ask that when you are giving

10· ·an answer, you give a verbal response.· A yes

11· ·or no or an explanation.· Just don't shake your

12· ·head or ahah ah or ahem ahem.· It is kind of

13· ·hard for the court reporter to pick everything

14· ·up.

15· · · · · · ·Is that okay?

16· · · · A.· ·Yes, sir.

17· · · · Q.· ·Now, do you understand you are under

18· ·oath.· You have sworn to tell the truth during

19· ·this deposition, correct?

20· · · · A.· ·Correct.

21· · · · Q.· ·Have you taken any drugs or any other

22· ·medication which may affect your ability to

23· ·answer any questions today?

24· · · · A.· ·No.

25· · · · Q.· ·Do you suffer from any type of


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·1· ·illness that would affect your ability to

·2· ·testify?

·3· · · · A.· ·No, sir.

·4· · · · Q.· ·Do you understand these instructions

·5· ·that I have given you?

·6· · · · A.· ·Yes, sir.

·7· · · · Q.· ·Other than your attorney, did you

·8· ·talk to anyone in preparation for this

·9· ·deposition today?

10· · · · A.· ·No, sir.

11· · · · Q.· ·Not wanting to know anything you

12· ·talked to your attorney about, did you review

13· ·any documents in preparation for this

14· ·deposition today?

15· · · · A.· ·No, sir.

16· · · · Q.· ·Can you tell me your current address?

17· · · · A.· ·



19· · · · Q.· ·How long have you lived at this

20· ·address?

21· · · · A.· ·Off and on, about 20 years.· That's

22· ·my grandmother's house.

23· · · · Q.· ·Do you currently live there with

24· ·anyone?

25· · · · A.· ·No.
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·1· · · · Q.· ·Do you have any plans on moving any

·2· ·time soon from this apartment?

·3· · · · A.· ·No.

·4· · · · Q.· ·You said that you have lived there on

·5· ·and off.· Do you remember when, just recently

·6· ·you moved into this address from the last time

·7· ·you currently moved in?

·8· · · · A.· ·Last year.

·9· · · · Q.· ·Do you remember around the month or

10· ·the time last year?

11· · · · A.· ·November 2023.

12· · · · Q.· ·Is there a mortgage at this property?

13· · · · A.· ·No, sir.

14· · · · Q.· ·Is there any rent that you pay to

15· ·stay here?

16· · · · A.· ·No, sir.

17· · · · Q.· ·Is there anyone else who is

18· ·responsible for the rent at this place?

19· · · · A.· ·My grandma.

20· · · · Q.· ·How much is rent payment, a month?

21· · · · A.· ·I don't know.

22· · · · Q.· ·What is your date of the birth, sir?

23· · · · A.· ·                     .

24· · · · Q.· ·Your place of birth?

25· · · · A.· ·Forth worth Texas.
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·1· · · · Q.· ·Is that the place you would say where

·2· ·you grew up, in Fort Worth?

·3· · · · A.· ·Yes.

·4· · · · Q.· ·Prior to living at the current

·5· ·address where you live with your grandmother,

·6· ·do you know where you stayed prior to that?

·7· · · · A.· ·I don't remember the address.

·8· · · · Q.· ·Was it where you lived with someone?

·9· · · · A.· ·No, I was staying by myself.· I was

10· ·married, with my wife.

11· · · · Q.· ·How long did you stay at this

12· ·residence?

13· · · · A.· ·Like, three years.

14· · · · Q.· ·It would be 2020 to 2023?

15· · · · A.· ·No.· 2019 to 2023.

16· · · · Q.· ·What was your wife's name you were

17· ·staying with?

18· · · · A.· ·I don't want to involve her because

19· ·she doesn't have anything to do with what we

20· ·have going on right now.· It is for her

21· ·protection.

22· · · · Q.· ·When did you marry your wife, when

23· ·did you get married?

24· · · · A.· ·October 10, 2020.

25· · · · Q.· ·The place you were staying at, was it


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·1· ·-- were you renting or owning the place when

·2· ·you were staying there with your wife?

·3· · · · A.· ·Renting.

·4· · · · Q.· ·Who was responsible for the rent at

·5· ·that time?

·6· · · · A.· ·I was.

·7· · · · Q.· ·Do you remember how much it was at

·8· ·that time?

·9· · · · A.· ·1800 a month.

10· · · · Q.· ·Have you ever gone by any other

11· ·names?

12· · · · A.· ·No, sir.

13· · · · Q.· ·The current place that you are

14· ·staying, does it have a residential phone for

15· ·the address?

16· · · · A.· ·Yes.

17· · · · Q.· ·Do you know the telephone number?

18· · · · A.· ·I don't have a telephone number.· It

19· ·is 800 number.· It is hard to get to them.

20· · · · Q.· ·You are talking about the resident,

21· ·the house number or houseline?

22· · · · A.· ·The house I am staying in right now

23· ·or previously?

24· · · · Q.· ·Right now.

25· · · · A.· ·No, it is my grandma's cell phone.


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·1· · · · Q.· ·What is your current cell phone

·2· ·number?

·3· · · · A.· ·817-987-7977.

·4· · · · Q.· ·Who was your cell phone provider?

·5· · · · A.· ·T-mobile.

·6· · · · Q.· ·Is this the phone number that you had

·7· ·at the time of the incident that took place at

·8· ·Southern Road?

·9· · · · A.· ·No, sir.

10· · · · Q.· ·Do you remember what phone number you

11· ·had at that time.

12· · · · A.· ·Let me check my phone.

13· · · · · · ·MR. BARROUKH:· I am going to instruct

14· · · · you not to look at any information or

15· · · · documents that is not provided to you by

16· · · · Mr. Jones.· If you can remember the phone

17· · · · number, you can tell him.· If you don't,

18· · · · unless have you a document to look at, you

19· · · · are going to say you don't know?

20· · · · A.· ·I don't know.

21· · · · Q.· ·Do you remember who the cell phone

22· ·provider was that you had at that time?

23· · · · A.· ·T-mobile.

24· · · · Q.· ·Have you ever been married to anyone

25· ·else?


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·1· · · · A.· ·Yes.

·2· · · · Q.· ·Who were you married, prior to this?

·3· · · · A.· ·I don't want to put her name in it.

·4· ·I was married in 2012.· It only lasted for one

·5· ·year.

·6· · · · Q.· ·Do you remember when you all got

·7· ·married?

·8· · · · A.· ·2012.

·9· · · · Q.· ·Do you remember the date?

10· · · · A.· ·No.· I don't know the date exactly.

11· · · · Q.· ·Do you remember the month?

12· · · · A.· ·No.

13· · · · Q.· ·Do you have any other marriages

14· ·besides that?

15· · · · A.· ·No, sir.

16· · · · Q.· ·Do you have any children?

17· · · · A.· ·Yes.

18· · · · Q.· ·How many children do you have?

19· · · · A.· ·I have one.

20· · · · Q.· ·What is his or her age?

21· · · · · · ·MR. BARROUKH:· I am going to ask.

22· · · · What is the relevance with his children in

23· · · · this matter at this time?· I don't see how

24· · · · it is relevant to the case whatsoever.             I

25· · · · am going to say this is borderline


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·1· · · · harassment.· He expressed he does not want

·2· · · · to talk about his ex-wife and now we are

·3· · · · getting into his children, so hopefully we

·4· · · · can make this brief.· You can answer the

·5· · · · question if you heard him.

·6· · · · A.· ·Yes, I don't want to get into my

·7· ·family business and stuff like that.· It is not

·8· ·relevant to what we got going on right now.

·9· · · · Q.· ·Do you support your current child?

10· · · · · · ·MR. BARROUKH:· Objection to form.

11· · · · You can answer.

12· · · · A.· ·Yes.

13· · · · Q.· ·Do you have child support payments

14· ·that you make.

15· · · · · · ·MR. BARROUKH:· Objection to form.

16· · · · You can answer.

17· · · · A.· ·Yes.

18· · · · Q.· ·Have you ever been arrested or

19· ·convicted of a crime?

20· · · · A.· ·Yes.

21· · · · Q.· ·When was this.

22· · · · · · ·MR. BARROUKH:· Objection to form.

23· · · · Are you asking about an arrest or

24· · · · conviction?

25· · · · · · ·MR. JONES:· We can start with arrest.


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·1· · · · Q.· ·Were you ever arrested for a crime?

·2· · · · A.· ·Yes.

·3· · · · Q.· ·When was this?

·4· · · · A.· ·2006.

·5· · · · Q.· ·What were you arrested for, at that

·6· ·time?

·7· · · · A.· ·Assault with bodily injury.

·8· · · · Q.· ·Did this event occur in Texas?

·9· · · · A.· ·Yes.

10· · · · Q.· ·Where in Texas did it occur?

11· · · · · · ·MR. BARROUKH:· I am going to step in

12· · · · and object.· I am not sure what

13· · · · information, Nicholas, you might have

14· · · · agreed to keep confidential privilege.· If

15· · · · you know, you can answer this question

16· · · · without violating an agreement, please go

17· · · · ahead and answer.· Otherwise, I will

18· · · · instruct you not to answer on those

19· · · · grounds.

20· · · · · · ·Again, Nicholas, if you know that you

21· · · · are allowed to share this information

22· · · · without violating an agreement or

23· · · · attorney/client privilege with the prior

24· · · · attorney, you can answer.· But if you

25· · · · don't know that, I am going to instruct


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·1· · · · you not to answer.

·2· · · · A.· ·I don't want to answer.

·3· · · · Q.· ·Are you saying you would violate an

·4· ·agreement if you disclose what the location of

·5· ·this event was?

·6· · · · A.· ·Yes, because I was a juvenile.

·7· · · · Q.· ·Now, did you have any other arrests?

·8· · · · A.· ·I don't want to get into my prior

·9· ·history.

10· · · · · · ·MR. BARROUKH:· Nicholas, can you tell

11· · · · him about, you know, years, general,

12· · · · things like that.· I personally don't know

13· · · · if you had an agreement, if you know there

14· · · · is an agreement and you can or cannot talk

15· · · · about something, that's fine.· Generally,

16· · · · you can give him a year or whatnot, if it

17· · · · does not violate the agreements.

18· · · · A.· ·2013, I was arrested for failure to

19· ·identify and 2013 -- I was arrested for

20· ·possession of marijuana in 2013.· And 2019, I

21· ·was arrested for resisting arrest.· 2019, for

22· ·possession of controlled substance.· In 2019,

23· ·arrested for unlawfully carrying a weapon.

24· · · · Q.· ·Did these instances, each of these

25· ·instances take place in Texas, all of them?


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·1· · · · A.· ·Yes.

·2· · · · Q.· ·Do you know the City it took place

·3· ·in?

·4· · · · A.· ·The first two, well the 2013, was

·5· ·Arlington, for both of them.· And the first

·6· ·one, 2019, was in Mansfield.· And the second

·7· ·two were in Dallas.

·8· · · · Q.· ·Do you have any other arrest that you

·9· ·had?

10· · · · A.· ·Not that I recall.

11· · · · Q.· ·What criminal convictions have you

12· ·had?

13· · · · A.· ·The resisting arrest.

14· · · · Q.· ·Now, have you ever served in the

15· ·military?

16· · · · A.· ·No.

17· · · · Q.· ·Have you ever declared for

18· ·bankruptcy?

19· · · · A.· ·No.

20· · · · Q.· ·What high school did you go to?

21· · · · A.· ·Mansfield High School.

22· · · · Q.· ·Did you graduate?

23· · · · A.· ·No, sir.

24· · · · Q.· ·At this time, who are you currently

25· ·employed with?


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·1· · · · A.· ·RCP.

·2· · · · Q.· ·What is that company?

·3· · · · A.· ·Re-modeling and cleaning Walmarts.

·4· · · · Q.· ·What date did you start working for

·5· ·them?

·6· · · · A.· ·January 19.

·7· · · · Q.· ·Of this year?

·8· · · · A.· ·Yes, 2025.

·9· · · · Q.· ·What position did you start with

10· ·them?

11· · · · A.· ·Technician.

12· · · · Q.· ·Could you describe your duties and

13· ·responsibilities with that role.

14· · · · · · ·MR. BARROUKH:· Objection to form.

15· · · · You can answer.

16· · · · A.· ·Cleaning duties, that's it.· That's

17· ·all we do is clean, a lot of cleaning from

18· ·construction sites.

19· · · · Q.· ·Have you received any promotions

20· ·since you worked there?

21· · · · A.· ·No, sir.

22· · · · Q.· ·What is your rate of pay?

23· · · · A.· ·13 dollars.

24· · · · Q.· ·Is that per hour?

25· · · · A.· ·Yes.


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·1· · · · Q.· ·Is that a full-time or part-time

·2· ·position?

·3· · · · A.· ·Full-time.

·4· · · · Q.· ·How many hours a week would you say

·5· ·you work in this position?

·6· · · · A.· ·40 hours.

·7· · · · Q.· ·How did you find out about this job?

·8· · · · A.· ·Craigslist.

·9· · · · Q.· ·Did you ever submit an employment

10· ·application?

11· · · · A.· ·Yes.

12· · · · Q.· ·Who is your current Supervisor at

13· ·this position?

14· · · · A.· ·Danielle.

15· · · · Q.· ·Do you know her last name?

16· · · · A.· ·I don't know her last name.

17· · · · Q.· ·Do you receive any benefits at this

18· ·position, like 401-K or dental health

19· ·insurance?

20· · · · A.· ·No, sir.

21· · · · Q.· ·Have you ever had any type of

22· ·write-ups at this job?

23· · · · A.· ·No, sir.

24· · · · Q.· ·Any disciplinary issues?

25· · · · A.· ·No, sir.


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·1· · · · Q.· ·Before you started working at this

·2· ·company, who were you with prior to that?

·3· · · · A.· ·Zephyr Towers.

·4· · · · Q.· ·When did you start working there?

·5· · · · A.· ·September 14th.

·6· · · · Q.· ·Which year?

·7· · · · A.· ·2024.

·8· · · · Q.· ·What was your position when you

·9· ·started with this company?

10· · · · A.· ·Cell phone tower climber.

11· · · · Q.· ·Could you explain a little bit about

12· ·your responsibilities with this position?

13· · · · A.· ·We put cell phone antennas, fiber

14· ·wires on cell phone tours.

15· · · · Q.· ·What was your rate of pay for this

16· ·position?

17· · · · A.· ·20 dollars an hour.

18· · · · Q.· ·Was that your rate when you started?

19· · · · A.· ·Yes, sir.

20· · · · Q.· ·How did you clock in to this

21· ·position?

22· · · · A.· ·Through my cell phone app called

23· ·Quickbooks.

24· · · · Q.· ·Did you receive any type of

25· ·promotions while you were at this company?


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·1· · · · A.· ·No, sir.

·2· · · · Q.· ·How many hours would you say that you

·3· ·worked a week at this position?

·4· · · · A.· ·60 hours a week.

·5· · · · Q.· ·Was this a full-time or part-time

·6· ·position?

·7· · · · A.· ·Full-time.

·8· · · · Q.· ·What was your Supervisor's name?

·9· · · · A.· ·Ryder Curtis.

10· · · · Q.· ·Did you receive any type of benefits

11· ·in this position?

12· · · · A.· ·Yes.

13· · · · Q.· ·What benefits did you receive?

14· · · · A.· ·Medical, dental and visual.

15· · · · Q.· ·Do you have any type of retirement

16· ·benefits?

17· · · · A.· ·No, sir.

18· · · · Q.· ·When did you leave this position?

19· · · · A.· ·December 7, 2024.

20· · · · Q.· ·What was your reason for leaving this

21· ·job?

22· · · · A.· ·The company laid me off because they

23· ·were running out of money.

24· · · · Q.· ·Did you ever have any write-ups at

25· ·this position?


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·1· · · · A.· ·No, sir.

·2· · · · Q.· ·Did you ever have any disciplinary

·3· ·issues?

·4· · · · A.· ·No, sir.

·5· · · · Q.· ·Now prior to this position, what

·6· ·company did you work at?

·7· · · · A.· ·It is called Hoods.· H-O-O-D-S.

·8· · · · Q.· ·Can you tell me a little bit about

·9· ·what that company does?

10· · · · A.· ·We clean exhaust systems in the

11· ·kitchen.

12· · · · Q.· ·Is this in residential homes?

13· · · · A.· ·No, this is commercial.

14· · · · Q.· ·When did you start this position?

15· · · · A.· ·June 2024.

16· · · · Q.· ·What was your position when you

17· ·started with them?

18· · · · A.· ·Cleaning technician.

19· · · · Q.· ·What were your responsibilities

20· ·within this position?

21· · · · A.· ·Clean exhaust systems.· Climb on top

22· ·of roof.

23· · · · Q.· ·What was your pay when you started?

24· · · · A.· ·18 dollars an hour.

25· · · · Q.· ·Did you receive a pay increase while


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·1· ·you were working with company?

·2· · · · A.· ·No, sir.

·3· · · · Q.· ·Did you receive any type of

·4· ·promotions?

·5· · · · A.· ·No, sir.

·6· · · · Q.· ·Was this a full or part-time job?

·7· · · · A.· ·Full-time.

·8· · · · Q.· ·How many hours would you work a week

·9· ·at this job?

10· · · · A.· ·40 hours a week.

11· · · · Q.· ·Who was your Supervisor?

12· · · · A.· ·Kyle.

13· · · · Q.· ·Do you remember his last name?

14· · · · A.· ·No.

15· · · · Q.· ·Did you have any type of write-ups at

16· ·this job?

17· · · · A.· ·No, sir.

18· · · · Q.· ·Any disciplinary issues?

19· · · · A.· ·No, sir.

20· · · · Q.· ·Why did you leave of this position?

21· · · · A.· ·I moved back to Texas.

22· · · · Q.· ·Where was this job located?

23· · · · A.· ·Florida.

24· · · · Q.· ·How did you tell the company that you

25· ·were leaving?


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·1· · · · A.· ·I told them I had no where to go.             I

·2· ·was sleeping in my car.· I had no where to go

·3· ·so I am going back to Texas.

·4· · · · Q.· ·Did you inform anybody at the job

·5· ·that you were leaving?

·6· · · · A.· ·Yes.

·7· · · · Q.· ·How did you do that?

·8· · · · A.· ·Phone call.

·9· · · · Q.· ·Who did you call to let them know?

10· · · · A.· ·Kyle.

11· · · · Q.· ·Do you remember how far in advance

12· ·you gave them before you left the company.

13· · · · · · ·MR. BARROUKH:· Objection to form.

14· · · · You can answer.

15· · · · A.· ·Excuse me.

16· · · · Q.· ·Do you remember how far in advance

17· ·you let Kyle know before you left the company?

18· · · · A.· ·No, 24 hours.

19· · · · Q.· ·Did you fill out any type of

20· ·paperwork or fill out anything in writing when

21· ·you let them know you were leaving?

22· · · · A.· ·No, sir.

23· · · · Q.· ·What date did you stop working there?

24· · · · A.· ·July 2024.

25· · · · Q.· ·How did you find out about this


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·1· ·position?

·2· · · · A.· ·Indeed.com.

·3· · · · Q.· ·Did you fill out an employment

·4· ·application through indeed?

·5· · · · A.· ·Yes, sir.

·6· · · · Q.· ·Before this job, where did you work?

·7· · · · A.· ·First Choice Landscaping.

·8· · · · Q.· ·When did you start at this company?

·9· · · · A.· ·April 2024.

10· · · · Q.· ·What was your position with this

11· ·company?

12· · · · A.· ·Landscaper.

13· · · · Q.· ·What was your responsibility in that

14· ·position?

15· · · · A.· ·Cut, edge, mow, blow, pick up leaves.

16· · · · Q.· ·What was your rate of pay when you

17· ·first started?

18· · · · A.· ·16 dollars an hour.

19· · · · Q.· ·Did you receive any pay increases?

20· · · · A.· ·No, sir.

21· · · · Q.· ·Any promotions with the company,

22· ·while you were there?

23· · · · A.· ·No, sir.

24· · · · Q.· ·Was this a full or part-time

25· ·position?


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·1· · · · A.· ·Full-time.

·2· · · · Q.· ·How many hours would you say you

·3· ·worked a week?

·4· · · · A.· ·40 to 45.

·5· · · · Q.· ·How did you clock in with this

·6· ·position?

·7· · · · A.· ·Just show up to work.· The hours are

·8· ·guaranteed, you come in, and you cut off at 5.

·9· ·No more and nothing less.

10· · · · Q.· ·Who was your Supervisor at the time?

11· · · · A.· ·His name was Mark.

12· · · · Q.· ·Do you remember his last name?

13· · · · A.· ·No.

14· · · · Q.· ·Did you receive any type of write ups

15· ·with this company?

16· · · · A.· ·No.

17· · · · Q.· ·Any disciplinary issues?

18· · · · A.· ·No, sir.

19· · · · Q.· ·Did you have any benefits with this

20· ·company?

21· · · · A.· ·No, sir.

22· · · · Q.· ·Why did you leave -- excuse me.

23· ·Where was this position at?

24· · · · A.· ·Florida.

25· · · · Q.· ·Where was the employer located?


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·1· · · · A.· ·Pensacola.

·2· · · · Q.· ·To back up a little bit.· Previous to

·3· ·this position, what city was that located in?

·4· · · · A.· ·Pensacola.

·5· · · · Q.· ·Why did you leave this position?

·6· · · · A.· ·For a better job.

·7· · · · Q.· ·When you say for a better job, what

·8· ·do you mean by that?

·9· · · · A.· ·Better pay.

10· · · · Q.· ·What date did you leave this

11· ·position?

12· · · · A.· ·May 2024.

13· · · · Q.· ·How did you let them know you were

14· ·leaving this position?

15· · · · A.· ·The last day before Friday, I just

16· ·told them, hey I found a different job.· I am

17· ·going to another job.

18· · · · Q.· ·Did you do this in writing?

19· · · · A.· ·No, sir.

20· · · · Q.· ·Did you do it over phone call or in

21· ·person, how did you let him know that?

22· · · · A.· ·In person.

23· · · · Q.· ·You said it was the last Friday, so

24· ·that Friday, I guess your last day at that

25· ·position when you let them know?


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·1· · · · A.· ·Correct.

·2· · · · Q.· ·Did you already have the other job

·3· ·where you gave the notice?

·4· · · · A.· ·Yes.

·5· · · · · · ·MR. BARROUKH:· Objection to form.

·6· · · · You can answer.

·7· · · · A.· ·Yes.

·8· · · · Q.· ·How did you find out about this job?

·9· · · · · · ·MR. BARROUKH:· Objection to form.

10· · · · You can answer.

11· · · · A.· ·Craigslist.

12· · · · Q.· ·Did you have to submit an employment

13· ·application for this job?

14· · · · A.· ·Yes.

15· · · · Q.· ·Going through Craigslist?

16· · · · A.· ·No, in person.

17· · · · Q.· ·Before this job, who did you work

18· ·with?

19· · · · A.· ·VIIs restaurant.

20· · · · Q.· ·When did you start working for them?

21· · · · A.· ·February of 2024.

22· · · · Q.· ·What was your position with them?

23· · · · A.· ·I was a diswasher.

24· · · · Q.· ·What was your rate of pay at this

25· ·position?


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·1· · · · A.· ·16 dollars an hour.

·2· · · · Q.· ·Did you stay at the same position at

·3· ·the whole time you were with them?

·4· · · · A.· ·Yes, sir.

·5· · · · Q.· ·Did you have any pay increases with

·6· ·the position?

·7· · · · A.· ·No, sir.

·8· · · · Q.· ·Was this a full-time or a part-time

·9· ·position?

10· · · · A.· ·Full-time position.

11· · · · Q.· ·How many hours a week did you work in

12· ·this position?

13· · · · A.· ·45 to 50 hours a week.

14· · · · Q.· ·What was your Supervisor at this job?

15· · · · A.· ·I really don't know his real name but

16· ·we call him shift.

17· · · · Q.· ·Did you ever receive any write-ups at

18· ·this job?

19· · · · A.· ·No.

20· · · · Q.· ·Any disciplinary issues?

21· · · · A.· ·No, sir.

22· · · · Q.· ·Did you get any benefits?

23· · · · A.· ·No, sir.

24· · · · Q.· ·Where was this position located?

25· · · · A.· ·Arlington, Texas.


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·1· · · · Q.· ·What was your reasons for leaving

·2· ·this job?

·3· · · · A.· ·Like I said, I was, I had been

·4· ·homeless for a while.· I had been traveling, I

·5· ·had been going to different places where I can

·6· ·lay my head at.

·7· · · · Q.· ·Are you saying that you left your job

·8· ·because I guess you didn't have a place to stay

·9· ·at the time?

10· · · · A.· ·Yes.

11· · · · Q.· ·Where did you go after you left this

12· ·place, as far as living?

13· · · · A.· ·Well, I stayed in Florida.· I slept

14· ·in my car and stuff like that.

15· · · · Q.· ·Did you already have another job in

16· ·Florida when you left?

17· · · · A.· ·No.

18· · · · Q.· ·When did you leave this job?

19· · · · A.· ·February 2024.

20· · · · Q.· ·How did you let them know you were

21· ·leaving this job?

22· · · · A.· ·The company shut down.· The company

23· ·was permanently closed.· They shut down.

24· · · · Q.· ·How did you find out about this job?

25· · · · A.· ·I walked in, I drove by and I applied


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·1· ·for the job in person.

·2· · · · Q.· ·Did you submit an employment

·3· ·application for this position?

·4· · · · A.· ·Yes, sir.

·5· · · · Q.· ·Before this job, where did you work?

·6· · · · A.· ·Southern Road Bridge.

·7· · · · Q.· ·I am going to go back to your

·8· ·employment with Southern Road Bridge.

·9· · · · · · ·Who did you work for prior to working

10· ·with Southern Road Bridge?

11· · · · A.· ·I don't remember.

12· · · · Q.· ·Do you remember if you had a position

13· ·immediately before you started working with

14· ·Southern Road Bridge?

15· · · · · · ·MR. BARROUKH:· Objection to form.

16· · · · You can answer, if you understand the

17· · · · question.

18· · · · A.· ·I don't remember.

19· · · · Q.· ·Did you have a period of unemployment

20· ·before you started working with Southern Road

21· ·Bridge?

22· · · · · · ·MR. BARROUKH:· Objection to form.

23· · · · You can answer.

24· · · · A.· ·I don't remember.· I can't recall.

25· · · · Q.· ·Now in the past ten years, do you


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·1· ·remember if you had any periods of

·2· ·unemployment?

·3· · · · A.· ·Yes.

·4· · · · Q.· ·When were those times?

·5· · · · A.· ·Last year.

·6· · · · Q.· ·How long was that time?

·7· · · · A.· ·Maybe a month.· Each job gap, each

·8· ·job I described to you has been like a month

·9· ·since my unemployment.· Yes, a month.

10· · · · Q.· ·Now during that time, did you use any

11· ·type of job sites, like Indeed to work for

12· ·employment?

13· · · · A.· ·Yes, Indeed, Craigslist, walk-ins,

14· ·Linkedin, word of mouth.

15· · · · Q.· ·Did you submit your resume to any

16· ·companies during this time?

17· · · · A.· ·Yes.

18· · · · Q.· ·Did you do it through the employment

19· ·sites we listed before?

20· · · · A.· ·Yes.

21· · · · Q.· ·Have you interviewed with any

22· ·companies?

23· · · · A.· ·Yes, sir.· It was Hoods and Towers.

24· · · · Q.· ·Did you look in any local newspapers

25· ·for a position during this time?


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·1· · · · A.· ·Yes.

·2· · · · Q.· ·Which positions did you look for?

·3· · · · A.· ·Employment, work.

·4· · · · Q.· ·How often would you say that you

·5· ·looked for positions?

·6· · · · A.· ·Every day.

·7· · · · Q.· ·How many applications would you say

·8· ·you submitted during this time?

·9· · · · A.· ·Roughly, around a thousand.

10· · · · Q.· ·Did you do anything other than using

11· ·the job sites and walk-ins to look for a job

12· ·during this time?

13· · · · A.· ·No, sir.

14· · · · Q.· ·During this time, what type of income

15· ·are you receiving?

16· · · · A.· ·For the time I am off?

17· · · · Q.· ·Yes.

18· · · · A.· ·From scrap metal, I made 2, 300

19· ·dollars a week, little side jobs like that.

20· · · · Q.· ·Did you file for unemployment at this

21· ·time?

22· · · · A.· ·No, sir.

23· · · · Q.· ·Other than the time-frame in 2004,

24· ·did you have any other times of unemployment?

25· · · · A.· ·No, sir.


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·1· · · · Q.· ·Have you ever been a party to a

·2· ·lawsuit or administrative proceeding, other

·3· ·than this lawsuit?

·4· · · · · · ·MR. BARROUKH:· Objection to form.

·5· · · · A.· ·I am filing for a divorce, that's it.

·6· · · · Q.· ·Other than this current charge

·7· ·against Southern Road, have you made any other

·8· ·administrative claims or charges against

·9· ·administrative agency?

10· · · · A.· ·No, sir.

11· · · · Q.· ·Have you ever applied for

12· ·unemployment?

13· · · · · · ·MR. BARROUKH:· Objection to form.

14· · · · You already answered that question.

15· · · · Q.· ·Have you ever applied for Social

16· ·Security?

17· · · · A.· ·No, sir.

18· · · · Q.· ·Have you ever applied for Workers'

19· ·Compensation?

20· · · · A.· ·No.

21· · · · Q.· ·How about disability benefits in the

22· ·meantime?

23· · · · A.· ·No, sir.

24· · · · Q.· ·I am going to switch gears to your

25· ·employment with Southern Road & Bridge.


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·1· · · · · · ·When did you start your employment

·2· ·with Southern Road & Bridge?

·3· · · · A.· ·February 28th, 2023.

·4· · · · Q.· ·How did you find out about this

·5· ·position?

·6· · · · A.· ·Co-worker.

·7· · · · Q.· ·What was this co-worker's name?

·8· · · · A.· ·Felancio Ruiz.

·9· · · · Q.· ·Did you know him prior to working

10· ·with Southern Road & Bridge?

11· · · · A.· ·Yes.

12· · · · Q.· ·How did you know him?

13· · · · A.· ·We worked at a different company

14· ·together.

15· · · · Q.· ·What company was that?

16· · · · A.· ·MEI Construction.

17· · · · Q.· ·When did you work for that company?

18· · · · A.· ·I can't remember.

19· · · · Q.· ·Why did you decide to apply with

20· ·Southern Road & Bridge?

21· · · · A.· ·Construction job.· They offered me

22· ·more money and construction job.

23· · · · Q.· ·How did you apply for this job?

24· · · · A.· ·Application, in person.

25· · · · Q.· ·Did you have an interview?


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·1· · · · A.· ·Yes.

·2· · · · Q.· ·Who did you interview with?

·3· · · · A.· ·Issac Ruiz.

·4· · · · Q.· ·Do you remember when you interviewed

·5· ·with Mr. Ruiz?

·6· · · · A.· ·February 28th, 2023.

·7· · · · Q.· ·Who hired you in this role?

·8· · · · A.· ·Issac.

·9· · · · Q.· ·What position did you hold when you

10· ·were originally hired at this position or at

11· ·this company?

12· · · · A.· ·General labor.

13· · · · Q.· ·What were your duties in this

14· ·position?

15· · · · A.· ·Repair bridges, patches, painting.

16· · · · Q.· ·What was your rate of pay at this

17· ·time?

18· · · · A.· ·22 dollars an hour.

19· · · · Q.· ·Did you receive any promotions while

20· ·you were with Southern Road & Bridge?

21· · · · A.· ·No.

22· · · · Q.· ·Did you work at any other positions

23· ·while you were there?

24· · · · A.· ·No, sir.

25· · · · Q.· ·Did you receive a pay increase while


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·1· ·you were there?

·2· · · · A.· ·Yes.

·3· · · · Q.· ·How much of a pay increase did you

·4· ·receive?

·5· · · · A.· ·2 dollars.

·6· · · · Q.· ·24 dollars an hour?

·7· · · · A.· ·Yes.

·8· · · · Q.· ·When did you receive this pay

·9· ·increase?

10· · · · A.· ·A month after employment.

11· · · · Q.· ·Before this position, what locations

12· ·work did you work at?

13· · · · A.· ·Destin, Florida.

14· · · · Q.· ·Was that the only position?

15· · · · A.· ·Yes.· I worked in Orlando too.

16· · · · Q.· ·How long did you work in Destin,

17· ·Florida?

18· · · · A.· ·9 months.

19· · · · Q.· ·What was job at that time?

20· · · · A.· ·General labor.

21· · · · Q.· ·Can you describe what job you were

22· ·working on when you were in Destin, Florida?

23· · · · A.· ·Repair an old bridge.· Patch cracks

24· ·in the concrete, joints and girders.

25· · · · Q.· ·With this job or location, were you


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·1· ·working at the same location or same site

·2· ·throughout the 9 month period that you were in

·3· ·Destin, Florida?

·4· · · · A.· ·Correct.

·5· · · · Q.· ·How many hours a week would you say

·6· ·you work a week?

·7· · · · A.· ·Supposedly, 50 hours a week.

·8· · · · Q.· ·Did you have to do orientation when

·9· ·you started with Southern Road & Bridge?

10· · · · A.· ·No, sir.

11· · · · Q.· ·When you got hurt, who did you speak

12· ·to when you got hired?

13· · · · A.· ·Issac Ruiz.

14· · · · Q.· ·Was there any type of training you

15· ·underwent?

16· · · · A.· ·No, sir.

17· · · · · · ·MR. BARROUKH:· Would you like a

18· · · · break?

19· · · · · · ·THE WITNESS:· Yes.

20· · · · · · ·MR. BARROUKH:· We can take a

21· · · · five-minute break.

22· · · · · · · · · (Whereupon, a short recess was

23· · · · · · ·taken.)

24· · · · · · ·MR. BARROUKH:· Back on the record.

25· · · · Q.· ·Are you able to see the exhibit I


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·1· ·have on the screen?

·2· · · · A.· ·Yes.

·3· · · · Q.· ·Were you given this document when you

·4· ·were hired with Southern Road & Bridge?

·5· · · · A.· ·Yes.

·6· · · · Q.· ·Is this your signature here down at

·7· ·the bottom?

·8· · · · A.· ·Yes, sir.

·9· · · · Q.· ·Was there a -- who did you meet with

10· ·at this time that you signed these documents?

11· · · · A.· ·Issac.

12· · · · Q.· ·Was this part of your orientation

13· ·when you met with him at this time?

14· · · · A.· ·We didn't have one because they told

15· ·us to just go straight to work.

16· · · · Q.· ·Were you given other documents to

17· ·review at this time?

18· · · · · · ·MR. BARROUKH:· Objection to form.

19· · · · You can answer.

20· · · · A.· ·Only the handbook.

21· · · · Q.· ·Did you -- when you were given a copy

22· ·of the handbook, did you review it?

23· · · · A.· ·A little bit.

24· · · · Q.· ·When you say a little bit, what do

25· ·you mean by that?


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·1· · · · A.· ·Maybe the first page.

·2· · · · Q.· ·In your reading of the handbook, did

·3· ·you come across any of the policies and

·4· ·procedures regarding filing complaints,

·5· ·regarding complaints with Southern Road &

·6· ·Bridge?

·7· · · · A.· ·Can you repeat that again.

·8· · · · Q.· ·In your review of the employee

·9· ·handbook, did you review any of the policies

10· ·regarding your avenues filing a complaint with

11· ·Southern Road & Bridge?

12· · · · · · ·MR. BARROUKH:· Objection to form.

13· · · · You can answer.

14· · · · A.· ·Yes, sir.

15· · · · Q.· ·Are you aware of these policies?

16· · · · · · ·MR. BARROUKH:· Objection to form.

17· · · · Misstates testimony.· You can answer.

18· · · · Q.· ·Are you aware of the policies

19· ·regarding filing a complaint with Southern Road

20· ·& Bridge?

21· · · · A.· ·Yes.

22· · · · Q.· ·In review of your handbook, are you

23· ·-- did you come across or did you review any of

24· ·the policies with Southern Road & Bridge

25· ·regarding requesting time off?


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·1· · · · A.· ·Yes.

·2· · · · Q.· ·Are you aware of these policies?

·3· · · · A.· ·Yes.

·4· · · · Q.· ·Now in your review of the employee

·5· ·handbook, did you review the policies with

·6· ·Southern Road & Bridge regarding any policies

·7· ·regarding putting in two-weeks notice?

·8· · · · A.· ·Yes.

·9· · · · Q.· ·Are you aware of these policies with

10· ·Southern Road & Bridge?

11· · · · A.· ·Yes.

12· · · · · · ·MR. JONES:· I would like to mark this

13· · · · as Defendant's Exhibit 1.· New hire

14· · · · packet.

15· · · · · · ·MR. BARROUKH:· Before you ask

16· · · · Mr. Ford if he recognizes a document, show

17· · · · him the whole document first.

18· · · · · · ·MR. JONES:· Okay.

19· · · · Q.· ·I am going to share my screen again.

20· · · · A.· ·I don't recognize that page.

21· · · · · · ·MR. BARROUKH:· Let him ask you a

22· · · · question first please.

23· · · · Q.· ·Are you able to see this document I

24· ·have here?

25· · · · A.· ·Can you repeat the question.


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·1· · · · Q.· ·Are you able to see the document I

·2· ·have here on the screen?

·3· · · · A.· ·Yes.

·4· · · · Q.· ·Is this your signature, down here,

·5· ·date February 26, 2023?

·6· · · · A.· ·I need to talk to my lawyer first.

·7· · · · · · ·MR. BARROUKH:· Off the record.

·8· · · · · · ·(Pause in proceedings.)

·9· · · · · · ·MR. BARROUKH:· We can go back on the

10· · · · record.

11· · · · Q.· ·Is this your signature down here?

12· · · · A.· ·I don't recall signing this those

13· ·documents.

14· · · · Q.· ·Do you recall giving documents, a

15· ·packet of documents on this date to sign as

16· ·part of your new hire with Southern Road &

17· ·Bridge an bridge?

18· · · · A.· ·I don't recall them documents.

19· · · · · · ·MR. JONES:· I would like to mark this

20· · · · as Defense Exhibit 2.· This is EEO policy

21· · · · statement.

22· · · · Q.· ·Who was your Supervisor when you

23· ·worked with Southern Road & Bridge?

24· · · · A.· ·Issac.

25· · · · Q.· ·How often did you see Issac?


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·1· · · · A.· ·Every day.

·2· · · · Q.· ·Was he your Supervisor the whole time

·3· ·or the entire time you were employed with

·4· ·Southern Road & Bridge?

·5· · · · A.· ·Yes, sir.

·6· · · · Q.· ·Did you have any type of relationship

·7· ·with Issac before you started working with

·8· ·Southern Road & Bridge?

·9· · · · A.· ·No, sir.

10· · · · Q.· ·How would you describe the

11· ·relationship with Issac?

12· · · · A.· ·Supervisor.· I tried to give respect

13· ·to a man.

14· · · · Q.· ·From the time you were hired until

15· ·June of 2023, did you have any prior issues

16· ·with Mr. Ruiz?

17· · · · A.· ·No, sir.

18· · · · Q.· ·Would you say he was fair during this

19· ·time.

20· · · · · · ·MR. BARROUKH:· Objection to form.· If

21· · · · you understand what he means by fair.

22· · · · A.· ·I don't understand what you are

23· ·trying to say about fair.

24· · · · Q.· ·Did you get along with your

25· ·Supervisor at this time?


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·1· · · · · · ·MR. BARROUKH:· Objection to form.

·2· · · · · · ·MR. JONES:· You can answer.

·3· · · · · · ·MR. BARROUKH:· You can answer, if you

·4· · · · understand.

·5· · · · A.· ·I was there just to work.

·6· · · · Q.· ·Did you have any type of problems

·7· ·with Mr. Ruiz?

·8· · · · · · ·MR. BARROUKH:· Objection to form.

·9· · · · You can answer.

10· · · · A.· ·I am not understanding what are you

11· ·trying to ask me.

12· · · · Q.· ·Prior to around June of 2023, did you

13· ·have any type of issues that you ran in to with

14· ·Mr. Ruiz or any kind of problems?

15· · · · · · ·MR. BARROUKH:· Objection to form.

16· · · · You can answer, if you understand.

17· · · · A.· ·I am not understanding what you are

18· ·trying to ask me.

19· · · · Q.· ·When would you say that you started

20· ·having issues with Mr. Ruiz, if you had any

21· ·issues?

22· · · · · · ·MR. BARROUKH:· Objection to form.

23· · · · Misstates testimony.· You can answer if

24· · · · you understand.

25· · · · A.· ·Yes, I am still trying to figuring


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·1· ·out, I am not understanding what you are trying

·2· ·to say.

·3· · · · Q.· ·At any point, while you were working

·4· ·with Southern Road & Bridge, did you ever have

·5· ·any issues with Mr. Ruiz?

·6· · · · · · ·MR. BARROUKH:· Objection to form.

·7· · · · Could you please explain what you mean by

·8· · · · issues; that might help my client

·9· · · · understand your question.

10· · · · Q.· ·Did you have any issues pertaining to

11· ·your employment with Mr. Ruiz during your time

12· ·at Southern Road & Bridge, did you have any

13· ·disciplinary issues, any issues that you felt,

14· ·I guess you were treated unfairly?

15· · · · · · ·MR. BARROUKH:· Objection to form.

16· · · · Compound.· You can answer.· If you

17· · · · understand the question.

18· · · · A.· ·I am not understanding what you are

19· ·trying to ask me.

20· · · · Q.· ·Did you ever have any moments at

21· ·Southern Road & Bridge where you felt you were

22· ·being treated unfairly by your Supervisor,

23· ·Mr. Ruiz?

24· · · · A.· ·I am not understanding what you are

25· ·trying to ask me.· I am not understanding.


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·1· · · · Q.· ·You do not understand what I mean by

·2· ·being treated unfairly?

·3· · · · A.· ·I know what unfairly means.· I am

·4· ·trying to figure out what question you are

·5· ·trying to ask me.

·6· · · · Q.· ·Did you ever feel you were treated

·7· ·unfairly by your Supervisor while you were

·8· ·working there?

·9· · · · A.· ·Ask the question again.

10· · · · Q.· ·Were you ever treated -- did you ever

11· ·feel like you were treated unfairly by your

12· ·Supervisor while you were working there?

13· · · · A.· ·Yes.

14· · · · Q.· ·When did this occur?

15· · · · A.· ·26 February, 2023.

16· · · · Q.· ·What happened on that date?

17· · · · A.· ·I got hired with another guy a

18· ·non-black guy.· We got hired at the same time.

19· ·He got paid more money than I did.· And me and

20· ·him came on the same plane, same city, same

21· ·experience, same everything and he got paid 24,

22· ·I got paid 22.· I told him how you get 24 and I

23· ·am only getting 22.· Then, I discussed that

24· ·with Issac and he said he is going to fix it.

25· · · · Q.· ·When did you discuss this with Issac?


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·1· · · · A.· ·First week of my check.

·2· · · · Q.· ·Do you know the name of the employee

·3· ·who you are talking about?

·4· · · · A.· ·His name is Eloy.

·5· · · · Q.· ·Now you say that this person had the

·6· ·same experience as you.

·7· · · · · · ·Have you ever reviewed this person's

·8· ·qualifications or resume?

·9· · · · A.· ·We worked at the same company before.

10· · · · Q.· ·My question is:· Have you ever

11· ·reviewed his qualifications or resume

12· ·specifically?

13· · · · A.· ·No, sir.

14· · · · Q.· ·Have you ever reviewed any of his

15· ·hiring packets to see what position he started

16· ·at?

17· · · · A.· ·There were only two positions there.

18· · · · Q.· ·Did you review any of his hiring

19· ·packets to see what position he started as?

20· · · · A.· ·No, sir.

21· · · · Q.· ·You say you worked at the same

22· ·company prior to this.· What company was this?

23· · · · A.· ·MEI.

24· · · · Q.· ·You said you talked to Mr. Ruiz and

25· ·he said he was going to fix the issue you were


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·1· ·having with your rate of pay at that time.

·2· · · · · · ·What happened when you had the

·3· ·conversation with him?

·4· · · · A.· ·He said I didn't know.· I am going to

·5· ·talk to Ryan.

·6· · · · Q.· ·Did you hear anything after that?

·7· · · · A.· ·It took for other co-workers to quit

·8· ·for me to get the 2 dollar raise.

·9· · · · Q.· ·When did you get the 2 dollar raise?

10· · · · A.· ·Some time in March.

11· · · · Q.· ·Did start a new position at that

12· ·time?

13· · · · A.· ·No, sir.

14· · · · Q.· ·What other instances or examples do

15· ·you have regarding Mr. Ruiz treating you

16· ·unfairly as your Supervisor?

17· · · · · · ·MR. BARROUKH:· Objection to form.

18· · · · You can answer.

19· · · · A.· ·I have to look in my phone.· It is

20· ·all written down.

21· · · · Q.· ·Do you know of any other instances?

22· · · · · · ·MR. BARROUKH:· Objection to form.

23· · · · Could you please reiterate the question to

24· · · · where he can understand.· I already

25· · · · explained and he said multiple times.· He


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·1· · · · doesn't know what you mean by unfair.· If

·2· · · · you can provide another word or definition

·3· · · · for that where he would be able to provide

·4· · · · you with a better answer, I think that

·5· · · · would be helpful.

·6· · · · · · ·MR. JONES:· He did not say that he

·7· · · · didn't understand.· He said he needed to

·8· · · · look at something.

·9· · · · · · ·MR. BARROUKH:· You asked five times

10· · · · that I had to object to.· He said he

11· · · · didn't understand.· You are asking him the

12· · · · same question again.

13· · · · · · ·MR. JONES:· I am not asking the same

14· · · · question again now.

15· · · · · · ·MR. BARROUKH:· We just had the

16· · · · proffer where he could not understand your

17· · · · questions, when you used the word unfair.

18· · · · Maybe if you provide him with an example

19· · · · or definition for the meaning of unfair

20· · · · then he can answer your question quickly

21· · · · and easily.

22· · · · Q.· ·Sir, do you understand what I mean

23· ·when I say unfair?

24· · · · A.· ·Yes.

25· · · · Q.· ·Were there any other instances where


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·1· ·you thought your Supervisor treated you

·2· ·unfairly?

·3· · · · A.· ·Not allowing us to use the restroom,

·4· ·not allowing to go get food before work.

·5· ·Sometimes, we do all the work and they are

·6· ·standing around the truck, giving out more

·7· ·hours to the other people.

·8· · · · Q.· ·I want to go through each one of

·9· ·these instances.· Regarding the incident where

10· ·you stated that Mr. Ruiz would not allow you to

11· ·go to the -- let you use the bathroom on break,

12· ·when did this happen?

13· · · · A.· ·I didn't say during break.· When I

14· ·have to use the restroom.

15· · · · Q.· ·When did this occur when he did not

16· ·let you use the restroom?

17· · · · A.· ·Every day.

18· · · · Q.· ·When did this start?

19· · · · A.· ·For me, February 26, 2023.

20· · · · Q.· ·Was there some type of instruction

21· ·that was given to you or what happened with

22· ·that?

23· · · · A.· ·Instructions?

24· · · · Q.· ·Yes.

25· · · · A.· ·The instruction was to use the


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·1· ·restroom off the bridge.

·2· · · · Q.· ·Who gave you this instruction?

·3· · · · A.· ·Issac.

·4· · · · Q.· ·Did he give it specifically to you or

·5· ·was it to every one?

·6· · · · · · ·MR. BARROUKH:· Objection.· You can

·7· · · · answer.

·8· · · · A.· ·To the black employees.

·9· · · · Q.· ·When was this instruction given out?

10· · · · A.· ·For me, February 26, 2023.

11· · · · Q.· ·Were you all having a meeting like

12· ·that, can you give me some context?

13· · · · A.· ·No.· Everybody got hired on different

14· ·times.· I got hired on the 1.

15· · · · Q.· ·You are saying he told you this when

16· ·you got hired?

17· · · · A.· ·When we have to use the bathroom, use

18· ·the one off the bridge.· Because they did not

19· ·have porta-potties, stuff like this at the

20· ·worksite.

21· · · · Q.· ·Was there anyone else when he made or

22· ·when he gave this instruction to you?

23· · · · A.· ·Yes.

24· · · · Q.· ·Who was around?

25· · · · A.· ·Feliciano, Eloy, and there is another


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·1· ·black guy called JD.

·2· · · · Q.· ·When did Mr. Ruiz tell you that you

·3· ·were not allowed to get food before work?

·4· · · · A.· ·He started doing that when Alonzo

·5· ·Hawkins got hired on.· Desmond Jones got hired

·6· ·on, and Kayden Coates got hired on.

·7· · · · Q.· ·Do you remember what time this was?

·8· · · · A.· ·March 2023.

·9· · · · Q.· ·What happened when he gave this

10· ·instruction to you?

11· · · · A.· ·Like when?

12· · · · Q.· ·No, I am asking what happened, how

13· ·did he give the instruction to you?

14· · · · A.· ·Text message or verbal.

15· · · · Q.· ·He would send you a text regarding

16· ·getting food before work?

17· · · · A.· ·Correct.

18· · · · Q.· ·Do you still have the text message?

19· · · · A.· ·Correct.

20· · · · Q.· ·Did he tell this to anyone else or a

21· ·group of people or was it just you?

22· · · · A.· ·A group of people, a group text

23· ·message.

24· · · · Q.· ·Who was in the group text message?

25· · · · A.· ·Alonzo Hawkins, Desmond Jones and


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·1· ·Kayden Coates.

·2· · · · Q.· ·Was this instruction given to any of

·3· ·the other employees?

·4· · · · · · ·MR. BARROUKH:· Objection to form.

·5· · · · You can answer.

·6· · · · A.· ·I don't know.

·7· · · · Q.· ·Do you know this rule regarding not

·8· ·allowing you to get food before work applied to

·9· ·every one?

10· · · · A.· ·I have no idea what you are trying to

11· ·ask me.

12· · · · Q.· ·I want to back up a little bit.

13· · · · · · ·Regarding the members who went to

14· ·each job site, can you describe that situation

15· ·as far as the employees, were they the same

16· ·employees, just a little bit about that whole

17· ·set up?

18· · · · · · ·MR. BARROUKH:· Objection to form.

19· · · · You can answer.

20· · · · A.· ·What do you mean by the same

21· ·employees?· ·A lot of people got hired on and a

22· ·lot of people quit and a lot of people got

23· ·hired.

24· · · · Q.· ·Was there a certain group that worked

25· ·at the job site, specific job site every day, a


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·1· ·certain group of employees?

·2· · · · · · ·MR. BARROUKH:· Objection to form.

·3· · · · You can answer.

·4· · · · A.· ·We had workers come to work.· You

·5· ·have to come to work.

·6· · · · Q.· ·Now the workers came to work, were

·7· ·they the same workers that worked on the same

·8· ·job?· What I am asking is:· Was there like for

·9· ·example a group of ten people assigned to the

10· ·Orlando job or the job that you had before

11· ·that, and those same workers were the ones that

12· ·worked at that site every day?

13· · · · A.· ·No, sir, because some people got

14· ·hired on and some people got fired, some people

15· ·quit and some people came back.

16· · · · Q.· ·So there was a group of you that went

17· ·to each job site that you worked at?

18· · · · A.· ·Only group of people was only in

19· ·Destin.· The other job in Orlando was only two

20· ·week.

21· · · · Q.· ·How many people would you say were

22· ·working at the Destin job at a given time.

23· · · · A.· ·7 or 8.

24· · · · Q.· ·Now, when Mr. Ruiz gave this

25· ·instruction about not being able to get food


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·1· ·before work, did this apply to all of the

·2· ·employees who were currently working at the job

·3· ·site at that time?

·4· · · · A.· ·What time are you talking about?

·5· ·Because a lot of people got hired on and a lot

·6· ·of people got fired.

·7· · · · Q.· ·The whole time throughout.

·8· · · · A.· ·I can't answer that.· People got

·9· ·hired on, people got fired.

10· · · · Q.· ·When are you saying he implemented

11· ·this policy?

12· · · · A.· ·It was not a policy.

13· · · · Q.· ·Or this procedure?

14· · · · A.· ·All the black employees got hired on

15· ·in March.· That's when he started doing that.

16· · · · Q.· ·March of 2023, did this procedure,

17· ·regarding not being able to get food before

18· ·work, did it apply to every one who was working

19· ·at that time?

20· · · · A.· ·No, it applied only to the black

21· ·employees.

22· · · · Q.· ·You said another instance where

23· ·sometimes you would have to do all the work

24· ·while they sit around, sit on the truck, can

25· ·you explain what you mean by that?


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·1· · · · A.· ·They would be like send the cones

·2· ·out, send barricade out, they will drive and we

·3· ·will be in the back of the truck throwing the

·4· ·barricades out.

·5· · · · · · ·After the barricade is set, we get

·6· ·all the tools, the equipment, take them back to

·7· ·the bridge, bust out the concrete, mix

·8· ·concrete, form the concrete and then we got let

·9· ·it dry.· We cannot sit in the truck.· We have

10· ·to let the concrete dry, they need somebody

11· ·watching.· They drive out the company truck and

12· ·park it on-site all the time.

13· · · · Q.· ·When you say they drive out, who are

14· ·you referring to?

15· · · · A.· ·Issac Ruiz.· When I say employees, I

16· ·mean Feliciano, Jose Chavez, Carlos, Alfredo,

17· ·Wakeem.

18· · · · Q.· ·Will you explain what you mean by

19· ·that?

20· · · · A.· ·After March 2023.

21· · · · Q.· ·You said they were giving out more

22· ·hours to other people.· Can you explain what

23· ·you mean by that?

24· · · · A.· ·It was like emergency call.· Any time

25· ·to fix this problem in the daytime, because


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·1· ·traffic is slowing up right there at bridge you

·2· ·need people to go out there and go work, so he

·3· ·would allow them -- not even by them, black

·4· ·guys, to the non-black guys not to work -- I

·5· ·mean non-black guys to go out and work while

·6· ·the black guys sit in the hotel room.· While

·7· ·they go and get extra hours or got stuck in the

·8· ·water and he called the non-black guys to go

·9· ·out there and get the boat.

10· · · · Q.· ·Who are you referring to when you say

11· ·the non-black guys?

12· · · · A.· ·Issac, Feliciano, Wakeem, Carlos,

13· ·Alfredo, and Jose Chavez.

14· · · · Q.· ·When would you say this occurred?

15· · · · A.· ·July, 2023.

16· · · · Q.· ·Were there any other instances you

17· ·believe your Supervisor was not treating you

18· ·fairly?

19· · · · A.· ·My hours.

20· · · · Q.· ·What do you mean by that?

21· · · · A.· ·We leave the hotel at 5:30 and the

22· ·hours say 7 o'clock.

23· · · · Q.· ·When did you say this occurred, the

24· ·issues with the hours?

25· · · · A.· ·For me, February 26, 2023.


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·1· · · · Q.· ·Did you talk to anybody regarding

·2· ·this issue?

·3· · · · A.· ·Yes.

·4· · · · Q.· ·Who did you talk to?

·5· · · · A.· ·Issac and Brian.

·6· · · · Q.· ·How did you talk to them?

·7· · · · A.· ·I talked to them over text message.

·8· · · · Q.· ·Do you remember when that was?

·9· · · · A.· ·Not exactly.

10· · · · Q.· ·Was this in February of 2023?

11· · · · A.· ·It was not about hours, it was about

12· ·the pay.· The pay, February 26, 2023, about the

13· ·pay.· Then, maybe sometime in April, we

14· ·discussed about the hours been missing.· That's

15· ·when we noticed our checks was looking funny.

16· · · · Q.· ·What happened when you discussed this

17· ·issue with Issac and Ryan?

18· · · · A.· ·What happened?

19· · · · Q.· ·Yes.

20· · · · A.· ·They retaliated.

21· · · · Q.· ·What do you mean by that?

22· · · · A.· ·They fired me one time.· They started

23· ·doing a lot of stuff around the time I am

24· ·telling about what happened, about everything

25· ·else too.


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·1· · · · Q.· ·What types of stuff did they start

·2· ·doing?

·3· · · · · · ·MR. BARROUKH:· Objection to form.

·4· · · · You can answer if you understand the

·5· · · · question.

·6· · · · A.· ·Fire me.· Not letting us see our

·7· ·hours, you know, stuff like that.

·8· · · · Q.· ·Did they ever try working with you

·9· ·regarding this hour issue?

10· · · · A.· ·No, sir.

11· · · · Q.· ·Did they ever make an attempt to try

12· ·to compensate you for the hours that you were

13· ·alleging missing?

14· · · · A.· ·No, sir.

15· · · · Q.· ·Did you have any other type of

16· ·unpleasant interactions with your Supervisor?

17· · · · A.· ·Yes.

18· · · · Q.· ·What were those?

19· · · · A.· ·They were talking about how -- Ryan

20· ·was talking about how his dad had a farm and he

21· ·had a black friend and he used to say like

22· ·slave, remarks like slave, slurs.· Stuff like

23· ·that, about how you are looking good working

24· ·out there in that field, stuff like that.

25· · · · · · ·Ryan used to show naked girls in his


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·1· ·phone and he be like oh this girl like that big

·2· ·old black cock, stuff like that.

·3· · · · Q.· ·Regarding the racial slurs, when did

·4· ·he make these statements?

·5· · · · A.· ·I believe April 2023.

·6· · · · Q.· ·Was there anybody else around?

·7· · · · A.· ·Yes, sir.

·8· · · · Q.· ·Who else was around?

·9· · · · A.· ·Alonzo Hawkins, Desmond Jones, and

10· ·Kayden Koates.

11· · · · Q.· ·What did you do when he made these

12· ·types of statements?

13· · · · A.· ·I am more professional so I don't

14· ·react to stuff like that.

15· · · · Q.· ·Did you tell anybody about the

16· ·incident?

17· · · · A.· ·Just the group of black guys, we sat

18· ·there and like what did he say, that's not

19· ·cool.

20· · · · Q.· ·Did you ever report this to anybody?

21· · · · A.· ·We didn't have access to HR.

22· · · · Q.· ·The incident with showing you

23· ·explicit pictures, when did that incident

24· ·occur?

25· · · · A.· ·April 2023.


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·1· · · · Q.· ·What happened with that incident?

·2· · · · A.· ·He was just showing us pictures of

·3· ·naked girls and stuff like that.· He was

·4· ·showing us pictures and making the same slurs

·5· ·at the same time.

·6· · · · Q.· ·Was there anybody around when he

·7· ·showed you these pictures?

·8· · · · A.· ·Yes, sir.

·9· · · · Q.· ·Who was around at that time?

10· · · · A.· ·Desmond Jones, Alonzo Hawkins and

11· ·Kayden Koates.

12· · · · Q.· ·Did you do anything at this time?

13· · · · A.· ·No, sir.

14· · · · Q.· ·Did you report the issue to anybody?

15· · · · A.· ·We never had access to HR department.

16· · · · Q.· ·Did you attempt to gain access to the

17· ·HR department?

18· · · · A.· ·Yes, sir.

19· · · · · · ·MR. BARROUKH:· Objection to form.

20· · · · You can answer.

21· · · · Q.· ·How did you attempt to get access to

22· ·HR?

23· · · · A.· ·Phone call.

24· · · · Q.· ·Who did you call?

25· · · · A.· ·I think her name was Christine,


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·1· ·something like that.· I can't remember her

·2· ·name.· We could never get a hold of nobody.

·3· · · · Q.· ·When did you first attempt to contact

·4· ·her?

·5· · · · A.· ·Like April 2023.

·6· · · · Q.· ·Did you ever talk to her at some

·7· ·point?

·8· · · · A.· ·I can't talk to nobody at HR so we

·9· ·never complained to her.· We never knew who HR

10· ·was.

11· · · · Q.· ·Did you ever see Mr. Ruiz outside of

12· ·work, at all?

13· · · · A.· ·Company time, or going back home,

14· ·like going back to Texas.

15· · · · Q.· ·Outside of work, when you are not

16· ·actually working 9 to 5 but maybe you guys hang

17· ·out or something like that outside of work or

18· ·come across his path, any way like that?

19· · · · · · ·MR. BARROUKH:· Objection to form.

20· · · · You can answer.

21· · · · A.· ·Yes.

22· · · · Q.· ·How did you see him outside of work?

23· · · · A.· ·Maybe, go outside, smoke a cigarette.

24· · · · Q.· ·Who were the other co-workers or

25· ·colleagues you were working with at this time?


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·1· · · · A.· ·Which part of time?

·2· · · · Q.· ·During this June/July time period?

·3· · · · A.· ·It was me Alonzo Hawkins Kayden,

·4· ·Koates, Issac Ruiz, Feliciano Ruiz and that's

·5· ·it.

·6· · · · Q.· ·What would you say your relationship

·7· ·was with your other co-workers?

·8· · · · A.· ·Alonzo Hawkins.

·9· · · · · · ·MR. BARROUKH:· Objection to form.

10· · · · You can answer.

11· · · · A.· ·Alonzo Hawkins, that's my brother,

12· ·Kayden Koates, that's my friend and Desmond

13· ·Jones, that's my cousin.· Feliciano, he used to

14· ·work at the same company before Southern Road &

15· ·Bridge.· Issac he was working in the same

16· ·company too but I didn't know Issac prior to

17· ·the job and that's it and I never knew Ryan.

18· · · · Q.· ·You worked at a prior job with Issac

19· ·Ruiz?

20· · · · A.· ·Correct.

21· · · · Q.· ·What job was that?

22· · · · A.· ·MEI.· I never knew him there it was a

23· ·big company.

24· · · · Q.· ·How often would you interact with

25· ·your other co-workers?


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·1· · · · A.· ·Not too much because I had a

·2· ·girlfriend so I was hanging out with my

·3· ·girlfriend after work.

·4· · · · Q.· ·Did you have any issues with any of

·5· ·them?

·6· · · · A.· ·After work or during work?

·7· · · · Q.· ·Yes, during work?

·8· · · · A.· ·Yes, we discussed a majority of it.

·9· · · · Q.· ·Not the individuals that were your

10· ·supervisors, I mean like any of your co-workers

11· ·or alcohol leagues?

12· · · · A.· ·Like my brother, cousin, friend never

13· ·had any issue.· We were working together.· We

14· ·told ourselves we have to keep to each other

15· ·cause a lot of iffy stuff was going on and like

16· ·you can tell if anybody liked you or not liked

17· ·you, you go to work, plain and simple, if your

18· ·colleague, does not like you, they don't like

19· ·you, just go to work but you can't just tell

20· ·somebody to like you are or tell if they like

21· ·you or not until they show their true colors.

22· ·That's what they were doing, they were showing

23· ·their true colors.

24· · · · Q.· ·Now, with Southern Road & Bridge, did

25· ·you receive any performance evaluations?


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·1· · · · A.· ·No, sir.

·2· · · · Q.· ·Did you ever receive any type of

·3· ·verbal counseling while you were there?

·4· · · · A.· ·No, sir.

·5· · · · Q.· ·Did you receive any type of written

·6· ·warnings?

·7· · · · A.· ·Like if I am writing it on paper or

·8· ·verbally?

·9· · · · Q.· ·No, I mean did the company or your

10· ·Supervisor give you any type of written warning

11· ·regarding your employment or issues they were

12· ·having?

13· · · · A.· ·No, sir.

14· · · · Q.· ·Were you ever suspended at any time?

15· · · · A.· ·Not on paper.

16· · · · Q.· ·What do you mean by that?

17· · · · A.· ·It was like verbal.· And I asked well

18· ·if you are going to suspend me, I need it on

19· ·paper and I never got that.

20· · · · Q.· ·What were you suspended for?

21· · · · A.· ·I have no idea.· I don't remember.

22· · · · Q.· ·Do you remember the time-frame it

23· ·was?

24· · · · A.· ·Around July 2023, August of 2023.

25· · · · Q.· ·Who suspended you?


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·1· · · · A.· ·Issac.

·2· · · · Q.· ·What did he say to you when he

·3· ·suspended you?

·4· · · · A.· ·I am going to suspend you for a

·5· ·couple of days.· I said okay, well, if you are

·6· ·going to suspend me, put it on a piece of paper

·7· ·because I don't know the reason why you are

·8· ·suspending me.

·9· · · · Q.· ·What happened after that?

10· · · · A.· ·After the three days, I came back to

11· ·work.

12· · · · Q.· ·Are you able to see document,

13· ·Mr. Ford?

14· · · · A.· ·Yes, I see a document.

15· · · · Q.· ·Who advised you, who did you talk to

16· ·regarding this incident?

17· · · · A.· ·I talked to Ryan, talked to George

18· ·and I talked Issac Ruiz.

19· · · · Q.· ·What happened when you talked to

20· ·them?

21· · · · A.· ·I am missing hours at the time.· I am

22· ·missing a lot of hours and they didn't fix my

23· ·hours at the time.· So I let them know that I

24· ·am not coming in to work if my hours are not

25· ·correct.


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·1· · · · Q.· ·When did you let them know this?

·2· · · · A.· ·The same, maybe 11/4, 11/3, 2023 but

·3· ·I don't recall seeing that document.

·4· · · · Q.· ·Do you recall the conversation that

·5· ·you had?

·6· · · · A.· ·Yes, I got a text message.

·7· · · · Q.· ·In this conversation, you told them

·8· ·you were no longer working for Southern Road &

·9· ·Bridge?

10· · · · A.· ·I told them I am not coming in if my

11· ·hours are not correct.

12· · · · Q.· ·At some point, did they attempt to

13· ·fix your hours or did you work with them.

14· · · · · · ·MR. BARROUKH:· Objection to form.

15· · · · You can answer.

16· · · · A.· ·No, no.· They didn't work for me at

17· ·that time.· That's maybe, the 10th incident

18· ·right there.· That's the last incident of the

19· ·documents.· There was a document from April, a

20· ·timesheet from there.

21· · · · Q.· ·Did they attempt to work with you at

22· ·any time regarding your hours?

23· · · · · · ·MR. BARROUKH:· Objection to form.

24· · · · A.· ·Only one time when I had to show them

25· ·proof of the times that I worked.


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·1· · · · Q.· ·What happened at that time?

·2· · · · A.· ·He fixed it then he pay me.

·3· · · · Q.· ·When was this?

·4· · · · A.· ·Maybe, October 23, 24, around

·5· ·October.

·6· · · · Q.· ·At this time, in November, did they

·7· ·attempt to correct or fix the issue that you

·8· ·had with your hours then?

·9· · · · A.· ·No, sir.

10· · · · · · ·MR. JONES:· I would like to mark that

11· · · · as Defense Exhibit 3.· The termination of

12· · · · employment notice or employee termination

13· · · · notice.

14· · · · Q.· ·I will share my screen.

15· · · · · · ·Sir, are you able to see this

16· ·document?

17· · · · A.· ·Yes.

18· · · · Q.· ·Is this a text message with you?

19· · · · A.· ·Yes.

20· · · · Q.· ·Do you know who this was with?

21· · · · A.· ·George.

22· · · · Q.· ·Is that George Takus?

23· · · · A.· ·Yes.

24· · · · Q.· ·Now when he says right here, that's

25· ·the whole issue about us not getting our share.


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·1· ·He responds please call to discuss so I can get

·2· ·you paid.

·3· · · · A.· ·I didn't have no -- no, I did not

·4· ·talk to him.· I just text him so I can keep it

·5· ·documented.

·6· · · · Q.· ·Did you call him after he requested

·7· ·you to call?

·8· · · · A.· ·No.

·9· · · · Q.· ·Why didn't you call him?

10· · · · · · ·MR. BARROUKH:· Objection to form.

11· · · · You can answer.

12· · · · A.· ·So I can keep my conversation

13· ·documented, so I have proof of the conversation

14· ·of what we are saying.· That's why he ask me to

15· ·call because he knew what was going on was

16· ·wrong.· He wanted to call to talk, rather than

17· ·text.

18· · · · Q.· ·When he says just call when you say

19· ·text me in orientation, what did you mean by

20· ·that?

21· · · · A.· ·I was trying to start school and I

22· ·was in orientation for school at that time

23· ·right there.

24· · · · Q.· ·At this time, you already quit

25· ·Southern Road & Bridge?


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·1· · · · · · ·MR. BARROUKH:· Objection.· Assumes

·2· · · · facts not in evidence.· He did not quit.

·3· · · · A.· ·Yes, I did not quit.

·4· · · · Q.· ·Did you go to -- when he says you did

·5· ·not show up for work yesterday, on November 6,

·6· ·did you go to work the previous day?

·7· · · · A.· ·That's when Issac said I was fired.

·8· · · · Q.· ·When did he say that?

·9· · · · A.· ·A week before that.

10· · · · Q.· ·What did he say you were being

11· ·terminated for?

12· · · · A.· ·He never told me in person.

13· · · · Q.· ·What happened with that?

14· · · · A.· ·I came back from Orlando.· I am

15· ·sitting in the truck waiting for my other

16· ·co-worker to come out then he tell me I am

17· ·fired.· Go home.· If you need more information,

18· ·talk to Ryan.

19· · · · Q.· ·What did you do after that?

20· · · · · · ·MR. BARROUKH:· Objection to form.

21· · · · You can answer.

22· · · · A.· ·I told him send a bus ticket to

23· ·Pensacola.

24· · · · Q.· ·When did this happen, this

25· ·conversation you had with Issac?


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·1· · · · A.· ·After the 24 -- I mean on the 24th.

·2· · · · Q.· ·24th of what month?

·3· · · · A.· ·10/24/2023.

·4· · · · Q.· ·When was the last day you worked?

·5· · · · A.· ·10/24.

·6· · · · Q.· ·Now when you talked to anyone after

·7· ·this, did they give you the opportunity to come

·8· ·back and work with Southern Road & Bridge?

·9· · · · A.· ·Yes.

10· · · · Q.· ·When was this?

11· · · · A.· ·11/2/23.

12· · · · Q.· ·Who did you talk to at this time?

13· · · · A.· ·Brian.

14· · · · Q.· ·What did he say?

15· · · · A.· ·To come back to work.· I need to get

16· ·this bridge done, over with so we can move on

17· ·to the next project.

18· · · · Q.· ·Did you go to work at that time?

19· · · · A.· ·He tell me a date to come in and

20· ·then, when I got my check, I seen that my hours

21· ·were short, so I was like no.· I am going to

22· ·wait for you to fix my check before I come in

23· ·because that's not fair.

24· · · · Q.· ·On November 2, you had an assignment

25· ·to go to work, but you are saying that you


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·1· ·refused to go to work at that time?

·2· · · · A.· ·I didn't refuse not to go to work.

·3· · · · Q.· ·Did you go to work at that time?

·4· · · · A.· ·No, sir.

·5· · · · Q.· ·Up here, when George asks you why you

·6· ·did not show up to work yesterday on November

·7· ·6th, you did not show up at that time, the day

·8· ·before that, did you?

·9· · · · · · ·MR. BARROUKH:· Objection to form.

10· · · · You can answer.

11· · · · A.· ·That, right there was a Sunday, when

12· ·he asked me to come in.· Before that, Friday,

13· ·they did not pay me all my money in my check so

14· ·I just tell them that we may have issues about

15· ·that.· I tell them I am not coming in until you

16· ·fix the issue about my check, because it is not

17· ·like we are working for free.

18· · · · Q.· ·In this conversation on November 6,

19· ·how many days had you not gone to work because

20· ·you were waiting for them to fix the issue with

21· ·the check?

22· · · · · · ·MR. BARROUKH:· Objection to form.

23· · · · You can answer.

24· · · · A.· ·Five days, not including the weekend.

25· · · · Q.· ·This conversation on November 6th,


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·1· ·did you do any other thing to try to work with

·2· ·them to resolve this issue?

·3· · · · A.· ·Yes.

·4· · · · Q.· ·What was that?

·5· · · · A.· ·I sent them text messages of how many

·6· ·hours that we missed, how many hours got owed

·7· ·but we don't know the exact amount.

·8· · · · Q.· ·Are you referring to this text

·9· ·message?

10· · · · A.· ·I am referring to -- that's just the

11· ·last text message.· I am referring to the one

12· ·prior, from February 26, 2023.

13· · · · Q.· ·I am focusing on this time, November

14· ·6, 2023, did you do anything else to work with

15· ·them to resolve the issues that you allege

16· ·happened with your hours?

17· · · · A.· ·I asked them and show them my

18· ·location where I was at.· I just asked them I

19· ·need to get paid more.· I told them my hours

20· ·are short.

21· · · · Q.· ·Did anything happen after that?

22· · · · A.· ·They fixed it after I showed them

23· ·proof.

24· · · · Q.· ·At that point, how many days had you

25· ·not been to work at that time?


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·1· · · · A.· ·Five days.

·2· · · · · · ·MR. JONES:· I would like to mark that

·3· · · · as Defense Exhibit 5, I believe, it is.             I

·4· · · · will mark that as text message thread.

·5· · · · Q.· ·Regarding the issues with your

·6· ·Supervisor, did you follow the policies in the

·7· ·handbook, regarding how to file a complaint or

·8· ·notify any one of this matter?

·9· · · · · · ·MR. BARROUKH:· Objection to form.

10· · · · You can answer.

11· · · · A.· ·Ask the question again.

12· · · · Q.· ·Did you follow the policies within

13· ·the handbook for Southern Road & Bridge

14· ·regarding reporting any type of complaint of

15· ·harassment or anything that you underwent

16· ·regarding your Supervisor?

17· · · · · · ·MR. BARROUKH:· Objection to form.· If

18· · · · you understand the question, you can

19· · · · answer.

20· · · · A.· ·I don't understand.

21· · · · Q.· ·Did you follow any of the policies in

22· ·the handbook, regarding following the complaint

23· ·with Southern Road & Bridge?

24· · · · · · ·MR. BARROUKH:· Objection to form, you

25· · · · can answer.


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·1· · · · Q.· ·Are you able to see this document?

·2· · · · A.· ·Yes, I see a document.

·3· · · · Q.· ·Is this policy in the handbook

·4· ·regarding sexual and unlawful harassment?

·5· · · · A.· ·Can I see the whole document,

·6· ·everything that you are scrolling up and down?

·7· · · · Q.· ·Yes.

·8· · · · · · ·MR. BARROUKH:· Is this the entire 200

·9· · · · page handbook?

10· · · · · · ·MR. JONES:· Yes, I am on one section.

11· · · · · · ·MR. BARROUKH:· Would you like to draw

12· · · · your client's attention to a page or range

13· · · · of pages?

14· · · · · · ·MR. JONES:· Yes, it was the one we

15· · · · were on before.· It was this page.

16· · · · · · ·MR. BARROUKH:· What is the page

17· · · · number.

18· · · · · · ·MR. JONES:· 47.

19· · · · Q.· ·Is this the policy in the handbook?

20· · · · A.· ·I don't recall seeing the document.

21· · · · Q.· ·Did you follow this policy regarding

22· ·any of the issues or complaints that you had

23· ·with your Supervisor?

24· · · · · · ·MR. JONES:· Objection to form.· You

25· · · · are not going through the entire document?


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·1· · · · A.· ·I don't recall seeing that document.

·2· · · · Q.· ·Here, where it says such complaints

·3· ·should be brought to the attention of SBR

·4· ·company EEO officer Katerina Constas using the

·5· ·company issued harassment complaint form, did

·6· ·you fill out any type of form regarding any of

·7· ·the issues you were having and submit it to

·8· ·this person?

·9· · · · A.· ·I don't recall seeing that document.

10· · · · Q.· ·Did you fill out --

11· · · · A.· ·We never knew an HR. We never knew an

12· ·EEO officer.· It only says EE officer.· I don't

13· ·know that document.

14· · · · Q.· ·So you did not --

15· · · · A.· ·I never seen that document.· No,

16· ·nothing.

17· · · · · · ·MR. JONES:· I would like to mark this

18· · · · as Defense Exhibit 6.· Employee handbook.

19· · · · · · ·I don't have any questions at this

20· · · · time.

21· · · · · · ·MR. BARROUKH:· Thank you.· I will

22· · · · keep this brief.

23· ·EXAMINATION BY *

24· ·MR. BARROUKH:

25· · · · Q.· ·Did you ever hear that N word used


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·1· ·while you were working for Southern Road &

·2· ·Bridge?

·3· · · · A.· ·Yes, sir.

·4· · · · Q.· ·Who used that word, with you from

·5· ·your experience?

·6· · · · A.· ·Issac, Feliciano Ruiz, Alfredo, Jose

·7· ·Chavez, Wakeem, Carlos.

·8· · · · Q.· ·Did you complain about those

·9· ·individuals use of the N word with you?

10· · · · A.· ·Yes.

11· · · · Q.· ·Who did you complain to?

12· · · · A.· ·Issac, Ryan.

13· · · · Q.· ·Why were those the individuals you

14· ·complained to?

15· · · · A.· ·Because they are Supervisors.· They

16· ·handle stuff like that.

17· · · · Q.· ·Did they tell you they were

18· ·responsible for handling reports and complaints

19· ·of discrimination?

20· · · · A.· ·Yes.

21· · · · Q.· ·Did you go to Ryan and Issac with

22· ·complaints of wage and hour discrepancies?

23· · · · A.· ·Yes, sir.

24· · · · Q.· ·How were your hours collected and

25· ·stored?


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·1· · · · A.· ·On a piece of paper, on a timesheet

·2· ·piece of paper.

·3· · · · Q.· ·Did you record your hours on the

·4· ·piece of paper, the timesheet?

·5· · · · A.· ·No.

·6· · · · Q.· ·Who did?

·7· · · · A.· ·Issac Ruiz.

·8· · · · Q.· ·Were you required to sign the

·9· ·timesheet next to your hours?

10· · · · A.· ·Yes.

11· · · · Q.· ·How many times a week were you

12· ·supposed to sign the timesheet with your hours?

13· · · · A.· ·Five days a week.

14· · · · Q.· ·In all of your time working for

15· ·Southern Road & Bridge and trip, nearly 1

16· ·complete month, how many times did you sign the

17· ·timesheet for your hours?

18· · · · A.· ·One time.

19· · · · · · ·MR. BARROUKH:· I have no further

20· · · · questions.

21· · · · · · ·We are going to read.

22· · · · · · · · · (Whereupon, at 1:47 p.m, the

23· · · · · · ·Examination of NICHOLAS FORD was

24· · · · · · ·concluded.)

25


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·1· · · · · · · · · · ·CERTIFICATE OF OATH

·2

·3· ·STATE OF FLORIDA )

·4· ·COUNTY OF LEE· · )

·5

·6· · · · · · I, the undersigned authority certify

·7· ·that Nicholas Ford appeared before me remotely

·8· ·via Zoom meeting and was duly sworn.

·9

10· · · · · · WITNESS my hand and official seal this

11· ·4th day of February, 2025

12

13

14· ·_________________________________
· · ·Addie Rubio
15· ·Notary Public - State of Florida
· · ·My Commission Number:· HH 455023
16· ·Expires:· October 17,2027

17

18

19

20

21

22

23

24

25


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·1· · · · · · · · ·REPORTERS DEPOSITION CERTIFICATE

·2· ·STATE OF FLORIDA )
· · ·COUNTY OF LEE· · )
·3

·4· · · · · · I, Addie Rubio do hereby certify:

·5· · · · · · THAT I was authorized to and did

·6· ·stenographically report the deposition of this

·7· ·witness and that the witness whose testimony is

·8· ·herein set forth was duly sworn by me and that

·9· ·the within transcript is a true and accurate

10· ·record of testimony given by said witness.

11· · · · · · · · ·I further certify that I am not

12· ·related either by blood or marriage to any of

13· ·the parties, nor am I a relative or employee of

14· ·any of the parties' attorney or counsel

15· ·connected with the action, nor am I financially

16· ·interested in the action. That I am in no way

17· ·interested in the outcome of this matter; nor

18· ·am I financially involved in the action.

19

20· · · · · · · DATED this 4th day of February 2025

21

22· ·__________________________________

23· ·Addie Rubio, Professional Reporter

24

25


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·1· ·RE:· Ford v Southern Road & Bridge

·2· ·DEPOSITION OF: Nicholas Ford

·3· ·TAKEN:· February 4, 2025

·4· · · · · · · · · · · I CERTIFY THIS IS A

·5· · · · · · · · · · · TRUE AND ACCURATE TRANSCRIPT

·6· · · · · · · · · · · FURTHER DEPONENT SAITH NOT.

·7

·8

·9· · · · · · · · · · · ____________________________

10· · · · · · · · · · · ·Nicholas Ford

11

12

13

14· ·STATE OF FLORIDA· · · )

15· · · · · · · · · · · · · · · ·SS:

16· ·COUNTY OF ____________)

17

18· · · · Sworn and subscribed to before me this

19· ·------ day of --------- 2025

20

21· ·PERSONALLY KNOWN ___________ or I.D ___________

22

23· · · · · · · · · · ____________________________
· · · · · · · · · · · Notary Public in and for the
24· · · · · · · · · · State of Florida at Large.

25· ·My commission expires:


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·1· · · · · · · · · · · ·ERRATA SHEET
· · · · ·Ford v. SRB
·2· · · ·DO NOT WRITE ON TRANSCRIPT -- ENTER CHANGES
· · ·HERE:
·3

·4· ·PAGE LINE· · · · · · · · · · · · · · REASON:

·5· ·___· ___ CHANGE: __________________/___________

·6· ·___· ___ CHANGE:___________________/___________

·7· ·___· ___ CHANGE: __________________/___________

·8· ·___· ___ CHANGE: __________________/___________

·9· ·___· ___ CHANGE: __________________/___________

10· ·___· ___ CHANGE: __________________/___________

11· ·___· ___ CHANGE: __________________/___________

12· ·___· ___ CHANGE: _________________/___________

13· ·___· ___ CHANGE: __________________/___________

14· ·___· ___ CHANGE: _________________/____________

15· ·___· ___ CHANGE: __________________/___________

16· ·___· ___ CHANGE: __________________/___________

17· ·___· ___ CHANGE: __________________/___________

18· ·___· ___ CHANGE: _________________/____________

19· ·___· ___ CHANGE: __________________/___________

20· ·___· ___ CHANGE: _________________/____________

21
· · · · · Under penalties of perjury, I declare that
22· · · · I have read my deposition held February 4,
· · · · · 2025 and that it is a true and accurate
23· · · · subject to any changes in form or
· · · · · substance entered herein.
24

25· ·_______________________· ____________________
· · ·Nicholas Ford· · · · · · · · · ·DATE


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